                 Case 3:21-cv-08378-JD Document 167 Filed 05/18/22 Page 1 of 5




   1   KUANG-BAO P. OU-YOUNG
                                                                            RECEIVED
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   3
       1362 Wright Avenue
       Sunnyvale, California 94087
                                                                                MAY 18 2022
   4   (408) 234-2371                                                                            .
                                                                           CLERK, U.S. DISTRICT CO
   5   kbouyoung@yahoo.com                                                NORTH DISTRiCT OF CALIFOANIA
   6
   7   Plaintiff-Intervenor Applicant Pro Se
   8
   9
  10                               UNITED STATES DISTRICT COURT
  11                             NORTHERN DISTRICT OF CALIFORNIA
  12                                  SAN FRANCISCO DIVISION
  13
  14
  15   DONALD J. TRUMP, et al.,                       )       Case No. 21-cv-8378-JD
  16


r)!
                                                      )
                Plaintiffs,                           )       PLAINTIFF-INTERVENOR
                                                      )       APPLICANT'S NOTICE OF MOTION
          vs.                                         )       AND MOTION TO INTERVENE, TO
  20                                                  )       DISQUALIFY JUDGE, AND FOR
  21   TWITTER INC., et al.,                          )       ORDER TO SHOW CAUSE
  22                                                  )
  23            Defendants,                           )
  24                                                  )       Date: June 23, 2022
  25   KUANG-BAO P. OU-YOUNG,                         )       Time: 10:00 a.m.
  26                                                  )       Courtroom 11, 19th Floor
  27            Plaintiff-Intervenor Applicant.       )       Judge: To Be Determined
  28
  29

  30                                NOTICE OF MOTION AND MOTION

  31   TO PLAINTIFFS, DEFENDANTS, AND THEIR COUNSEL OF RECORD:

  32            PLEASE TAKE NOTICE that on June 23, 2022, at 10:00 a.m., or as soon thereafter as

  33   the matter may be heard, in Courtroom 11, 19th Floor, San Francisco Courthouse, located at 450

  34   Golden Gate Avenue, San Francisco, California, applicant Kuang-Bao P. Ou-Young will, and

  35   hereby does move, for the court's permission to intervene in the present case, to disqualify

  36   district judge James Donato from this case, and for an order to show cause against said judge.

  37   The motion to intervene is based on Federal Rule of Civil Procedure 24(a)(l), 28 U.S.C. §

  38   547(1), this notice of motion and motion, the memorandum of points and authorities set forth


        Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge, and for Order to Show Cause
                                           Case No. 21-cv-8378-JD 1 of3
                 Case 3:21-cv-08378-JD Document 167 Filed 05/18/22 Page 2 of 5




 1 II below,the pleadings and records on file in this case,and such further evidence and argument as

 2   II the court may consider at the time of hearing on this motion.

 3 II                       MEMORANDUM OF POINTS AND AUTHORITIES

 4 II          A. Judge Donato Has Conspired to Deprive Applicant of Substantive Civil Rights

 5 II          On May 29, 2015, applicant brought a complaint to the clerk's office (Case No. 15-mc-

 6 II 80149-BLF). Judge Donato forwarded the complaint to districtjudge Beth Labson Freeman,who

 7 II dismissed the case on June 5,2015 without a hearing. Dkt. No. 2. Nonetheless,"due process

 8 II requires an opportunity to confront and cross-examine adverse witnesses." Goldberg v. Kelly,

 9      11397 U.S. 254,269 (1970). Accordingly,saidjudge has conspired withjudge Freeman to deny

10 II applicant the First Amendment right to petition the government for a redress of grievances, due

11 II process of law under the Fifth Amendment,the Seventh Amendment right to ajury trial, and

12 II equal protection of the laws under the Fourteenth Amendment. Judge Donato is criminally liable

13 II under 18 U.S.C. § 242. United States v. Price, 383 U.S. 787,793 (1966); Bivens v. Six Unknown

14 II Named Agents ofFederal Bureau ofNarcotics, 403 U.S. 388 (1971). As ajudge is not absolutely

15 II immune from criminal liability,Ex parte Virginia, 100 U.S. 339, 348-349 (1880) ,the presiding

16 II judge should be disqualified from the present case.

17 II          B. Judge Donato Should Face Criminal Prosecution

18 II          Since 28 U.S.C. § 547(1) requires U.S. attorney Stephanie M. Hinds to prosecute for all

19 II offenses against the United States,the court should order said U.S. attorney to show cause why

20 II her office should not institute criminal prosecution againstjudge Donato.

21




         Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge, and for Order to Show Cause
                                            Case No. 21-cv-8378-JD 2 of3
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 1                                              CONCLUSION

 2             Based on the above arguments, the court should disqualify judge Donato from this case

3    and order U.S. attorney Hinds to show cause why said judge should not face prosecution by her

4    office.

5              Respectfully submitted this 18th day of May 2022.


                [��-� ��
 6
 7             KUANG-BAO P. OU-YOUNG
 8             1362 Wright Avenue
 9             Sunnyvale, California 94087
10             (408) 234-2371
11             kbouyoung@yahoo.com
12
13             Plaintiff-Intervenor Applicant




      Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge, and for Order to Show Cause
                                         Case No. 21-cv-8378-JD 3 of3
       Case 3:21-cv-08378-JD Document 167 Filed 05/18/22 Page 4 of 5




                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

DONALD J. TRUMP, et al.,                       )
                                               )
                       Plaintiffs,             )                  Case No. 21-cv-8378-JD
                                               )
               vs.                             )                  PROOF OF SERVICE
                                               )
TWITTER INC., et al.,                          )
                                               )
                       Defendants.             )


This is to certify that a true and correct copy of the following document:

   Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge, and for Order to
   Show Cause

was delivered by priority or first class mail to the following:

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Frank C. Dudenhefer, Jr.                               Michael J. Jones
2721 St. Charles Avenue, Suite 2A                      Roland A. Paul
New Orleans, LA 70130                                  Ryan Tougias
                                                       Sean M. Hamill
                                                       170 Mason Street
                                                       Greenwich, CT 06830

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1450 W. Highway 290, Suite 1200                        400 N. Ashley Drive, Suite 1100
Dripping Springs, TX 78620                             Tampa, FL 33602




Date: May 18, 2022
                                                       YuLin Lu
                                                       820 Mull5erryLane
                                                       Sunnyvale, CA 94087
       Case 3:21-cv-08378-JD Document 167 Filed 05/18/22 Page 5 of 5




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION

DONALD J. TRUMP,et al.,                       )
                                              )
                       Plaintiffs,            )              Case No. 21 -cv-8378-JD
                                              )
               vs.                            )              PROOF OF SERVICE
                                              )
TWITTER INC., et al.,                         )
                                              )
                       Defendants.            )


This is to certify that a true and correct copy of t�e following document:

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   Show Cause

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Date: May 18, 2022
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